               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                            Plaintiff,             Case No. 17-CR-124-JPS

 v.

 MARCUS HUTCHINS,
                                                                  ORDER
                            Defendant.


       On June 5, 2018, the grand jury returned a superseding indictment

charging Defendant with ten counts of conspiracy, fraud, and unlawfully

intercepting communications. (Docket #86). On April 19, 2019, the parties

filed a plea agreement indicating that Defendant agreed to plead guilty to

Counts One and Two of the superseding indictment. (Docket #124).

       The parties appeared before Magistrate Judge Nancy Joseph on May

2, 2019 to conduct a plea colloquy pursuant to Federal Rule of Criminal

Procedure 11. (Docket #126). Defendant entered a plea of guilty as to Counts

One and Two the superseding indictment. (Docket #127 at 1). After

cautioning and examining Defendant under oath concerning each of the

subjects mentioned in Rule 11, Magistrate Joseph determined that the guilty

plea was knowing and voluntary, and that the offenses charged were

supported by an independent factual basis containing each of the essential

elements of the offenses. Id.

       Magistrate Joseph filed a Report and Recommendation with this

Court, recommending that: (1) Defendant’s plea of guilty be accepted; (2) a

presentence investigation report be prepared; and (3) Defendant be
adjudicated guilty and have a sentence imposed accordingly. Id. Pursuant

to General Local Rule 72(c), 28 U.S.C. § 636(b)(1)(B), and Federal Rule of

Criminal Procedure 59(b), the parties were advised that written objections

to that recommendation, or any part thereof, could be filed within fourteen

days of the date of service of the recommendation. Id. at 1–2. To date, no

party has filed such an objection. The Court has considered Magistrate

Joseph’s recommendation and, having received no objection thereto, will

adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s Report and

Recommendation (Docket #127) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 20th day of May, 2019.

                                  BY THE COURT:



                                  ____________________________________
                                  J. P. Stadtmueller
                                  U.S. District Judge




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